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 1                                                           THE HONORABLE RICHARD A. JONES
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8

 9   BLACK LIVES MATTER SEATTLE-                         No. 2:20-cv-00887-RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                             DECLARATION OF KATHERINE
     KYASHNA-TOCHA, ALEXANDER                            CONROY IN SUPPORT OF PLAINTIFFS’
11   WOLDEAB, NATHALIE GRAHAM,                           MOTION FOR CONTEMPT
     AND ALEXANDRA CHEN,
12
                              Plaintiffs,
13
              v.
14
     CITY OF SEATTLE,
15
                              Defendant.
16

17
              I, Katherine Conroy, declare and state as follows:
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              1.       The information contained in this declaration is true and correct to the best of my
19
     knowledge, and I am of majority age and competent to testify about the matters set forth herein.
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              2.       I’m a student in clinical psychology in a PhD program at the University of
21
     Washington, focusing on substance use and substance use treatment.
22
              3.       As a student of mental health, I have seen how our criminal legal system regularly
23
     harms people with mental illness—especially people of color—instead of caring for them. I have
24
     been protesting racism and oppression in the criminal legal system and standing up for Black
25
     lives since June.
26

      CONROY DECL. (No. 2:20-cv-00887-RAJ)                                        Perkins Coie LLP
      –1                                                                    1201 Third Avenue, Suite 4900
                                                                              Seattle, WA 98101-3099
                                                                                Phone: 206.359.8000
     149075783.1                                                                 Fax: 206.359.9000
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 1            4.       I participated in the march on Saturday, July 25, 2020 until I was injured by a
 2   police explosive of some sort and had to go home.
 3            5.       In the afternoon, a group of seven friends and I gathered with other protesters near
 4   Seattle Central before the march began. We participated in group education, listening to
 5   speakers.
 6            6.       When the march began, my friends and I were in roughly the middle of the crowd.
 7   As we marched, we chanted, focusing mostly on the demands for police reform articulated by
 8   King County Equity Now, a coalition of Black-led, community-based organizations.
 9            7.       The march was peaceful. I did not see any protesters throw anything at the
10   police or do anything else to provoke a violent police response.
11            8.       When we rounded the corner of Pine near the East Precinct, I saw police officers
12   moving quickly down the hill on Pine towards us. Some protesters began to run away from the
13   rapidly approaching police force.
14            9.       With no warning, police started firing a massive number of chemical
15   weapons and projectiles at us. The amount of force they unleashed on us out of the blue
16   was overwhelming.
17            10.      At the time, my friend Jessica Bonafilia and I had our arms linked. We got hit
18   with some kind of explosive that seems to have contained pepper spray.
19            11.      I felt pain in my left leg, but I could not see anything on my leg through my jeans.
20   I looked around and saw other protesters with holes ripped in their clothing and blood seeping
21   through.
22            12.      A canister dispersed a thick cloud of a chemical into the air that made us cough,
23   made it hard to breathe, and made my eyes sting.
24            13.      I stepped off the march route into Cal Anderson park as police were pushing the
25   protesters down Pine to try to wash out my eyes and regroup with my friends.
26            14.      Eventually I joined up with the other protesters again a block back on Pine.

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      –2                                                                    1201 Third Avenue, Suite 4900
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 1            15.      Throughout the march, police were firing projectiles and explosives
 2   indiscriminately into the crowd with no warning or clear objective. Of my group of 8
 3   friends, half of us got injured by police weapons.
 4            16.      None of us was violent, or posed any threat. We were there to protest, to
 5   assemble, to exercise our rights. We were there to demonstrate against police violence. And
 6   we were met with police violence.
 7            17.      Eventually, after a break in the onslaught of force from the police, our group
 8   rounded the corner of Pine and Broadway.
 9            18.      At this point, there were a few lines of protesters between me and the police.
10   Police started to push us back again aggressively, but we could not move back fast enough
11   because some people behind us were not moving, or not moving quickly enough. Some
12   people tripped over traffic cones or other people who had fallen. I was extremely terrified,
13   and believed that I was going to be caught in a stampede caused by the sudden police
14   encroachment.
15            19.      Although I had linked arms with my friends so we would not get separated, in the
16   pushing and pulling of the crowd caused by the police, I began to lose my friends, so stepped out
17   of the crowd when I saw an opportunity to do so without interacting with police.
18            20.      I was scared to stay at the protest without my friends, so I returned to my vehicle
19   to go home. In the car, my sweat mixed with the pepper spray that was still on my skin making
20   my eyes sting. It was very hard to see well enough to drive and made me very anxious I would
21   not be able to get home safely.
22            21.      When I got home and undressed, I saw that the projectile that hit me had left a
23   large welt on my thigh and a chemical burn through the first layer of my skin. Eventually the
24   welt turned dark purple and spread across about six inches of my leg.
25            22.      Attached as Exhibit A is a true and correct copy of a photo of my leg, taken the
26   night of July 25, 2020. Attached as Exhibits B-C are true and correct copies of photos of my leg,

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      –3                                                                    1201 Third Avenue, Suite 4900
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 1   taken the night of July 25, 2020 after I took a shower. Attached as Exhibits D-G are true and
 2   correct copies of photos of my leg, taken on July 26, 2020. Attached as Exhibit H is a true and
 3   correct copy of a photo of my leg, taken on July 27, 2020.
 4            23.      One week later, my injury is healing, but is still visible and painful. Attached as
 5   Exhibit I is a true and correct copy of a photo of my leg, taken on July 30, 2020. Attached as
 6   Exhibit J is a true and correct copy of a photo of my leg, taken on August 1, 2020.
 7

 8
              Executed this 2nd day of August 2020 at SEATTLE, WASHINGTON.
 9
              I declare under penalty of perjury under the laws of the United States and the State of
10
     Washington that the foregoing is true and correct.
11

12
                                                                         By:________________________
13
                                                                                  KATHERINE CONROY
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           EXHIBIT B
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            EXHIBIT D
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            EXHIBIT F
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            EXHIBIT G
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            EXHIBIT H
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             EXHIBIT J
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